Case 2:07-cr-02071-WFN   ECF No. 398   filed 09/24/08   PageID.1888 Page 1 of 6
Case 2:07-cr-02071-WFN   ECF No. 398   filed 09/24/08   PageID.1889 Page 2 of 6
Case 2:07-cr-02071-WFN   ECF No. 398   filed 09/24/08   PageID.1890 Page 3 of 6
Case 2:07-cr-02071-WFN   ECF No. 398   filed 09/24/08   PageID.1891 Page 4 of 6
Case 2:07-cr-02071-WFN   ECF No. 398   filed 09/24/08   PageID.1892 Page 5 of 6
Case 2:07-cr-02071-WFN   ECF No. 398   filed 09/24/08   PageID.1893 Page 6 of 6
